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CATEGORY 3 OBJECTORS:
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Counsel Have Signed A
Participation Agreement

                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

In re: ROUNDUP PRODUCTS LIABILITY            MDL 2741
LITIGATION
                                             Case No. 16-md-02741-VC
                                             HON. VINCE CHHABRIA
This document relates to:                    CATEGORY 3 OBJECTORS’
                                             OPPOSITION TO MOTION TO AMEND
ALL CASES                                    PRE-TRIAL ORDER 12: COMMON
                                             BEENEFIT FUND ORDER TO
                                             ESTABLISH A HOLDBACK
                                             PERCENTAGE (Doc. No. 12394)
                                             Hearing date: March 3, 2021
                                             Time: 1:00 PM

Category 3 Objectors’ Opposition to Motion to Amend PTO 12: Common Benefit Fund
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I.       INTRODUCTION

         The undersigned (“Category 3 Objectors”) represent Plaintiffs whose Roundup cases are

  unfiled or filed in state court, and who have signed a Participation Agreement with the MDL PEC

  for purposes of receiving ancillary support. Some Category 3 Objectors also have a small number

  of cases improvidently removed to federal court. Plaintiffs’ Co-Lead Counsels’ (“CLC” or “Co-

  Leads”) have filed a motion to modify PTO 12, requesting an 8.25% hold back for common benefit

  fees and expenses from all cases, an amount which comes out to well over $800 million.

         Category 3 Objectors ask the Court to deny this request as to cases filed in state court or

  unfiled cases, because this Court does not have jurisdiction over such cases. Category 3 Objectors

  also ask the Court to deny this request respecting clients whose cases are filed in federal court,

  because CLC are already fully and highly compensated. Should the Court find that a common

  benefit holdback is appropriate respecting cased filed in federal court, the amount sought by CLC

  is an egregiously high fee for the work performed and vastly disproportionate to the expenses

  incurred. Alternatively, Category 3 Objectors request for the Court to allow discovery to be

  propounded so that Counsel and the Court may determine whether the sought-after holdback

  percentage is an equitable spreading of costs.

 II.     STATEMENT OF RELEVANT FACTS

         Thousands of lawsuits have been filed across the country by individuals diagnosed with

  non-Hodgkin’s lymphoma after exposure to Monsanto’s Roundup. The majority of these lawsuits

  were brought in state court, or remain unfiled, while only a miniscule percentage of cases have

  been coordinated in MDL 2741.1 After buying Monsanto for $63 billion, Bayer chose to reserve



  1
    There are 3,730 actions pending in MDL 2741 as of January 19, 2021, relative to potentially
  125,000 claims as projected by Bayer – less than 3% (https://www.reuters.com/article/bayer-
  lawsuit/bayer-settles-thousands-of-u-s-roundup-cases-with-trial-attorneys-idINL1N2GC163 (last

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Objectors were either filed in state court or are unfiled. Only a small number of cases

improvidently ended up in federal court due to removal. The tiny fraction of cases pending in

federal court does not confer jurisdiction to this Court over the thousands of Roundup cases filed

in state court, nor over plaintiffs with cases that are unfiled. As demonstrated below, this Court

does not possess the authority to order a holdback from cases not pending before it in federal court,

regardless of whether a Participation Agreement was signed.

        Binding precedent demonstrates that a common benefit holdback cannot be imposed unless

the Court has jurisdiction over the specific case and controversy. Hartland v. Alaska Airlines,

544 F.2d 992 (9th Cir. 1976); Vincent v. Hughes Air West, Inc., 557 F.2d 759, 766 (9th Cir. 1977).

Simply because a universe of cases involves the same defendant and the same mass tort does not

give a court jurisdiction over all the cases involved in that mass tort. Id.; see also In Re: Lidoderm

Antitrust Litigation, 2017 WL 3478810, at *3 (N.D. Cal., Aug. 14, 2017) (quoting In re:

Genetically Modified Rice Litig., 764 F.3d 864, 873 (8th Cir. 2014)) (“[D]istrict courts operating

pursuant to their multi-district litigation powers do not have jurisdiction to order holdbacks from

state-court plaintiffs’ recoveries.”).

        This holding stems from the fact that jurisdiction does not exist where cases were never

actually before a court. In re FedEx Ground Package Sys., Inc., Employment Practices Litig., No.

3:05-MD-527 RM, 2011 WL 611883, at *3 (N.D. Ind. Feb. 11, 2011). Further, any kind of

agreement to confer jurisdiction to a court when cases are not before it is invalid, because subject

matter jurisdiction cannot be created by agreement. Vincent, 557 F.2d at 766.




Constitution and statute, . . . which is not to be expanded by judicial decree,” and “[i]t is to be
presumed that a cause lies outside this limited jurisdiction[.]” Kokkonen v. Guardian Life Ins.
Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted).


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       CLC have not put forth a basis to show that this Court has subject matter and personal

jurisdiction over the universe of cases from which they seek a holdback. This is because one does

not exist. And even though the language of the Participation Agreement tries to Frankenstein

jurisdiction to extend this Court’s reach to cases that are not before the Court, jurisdiction, again,

simply cannot be conferred by agreement.

       Furthermore, jurisdiction, respectfully, cannot be simply created by a court. Kokkonen, 511

U.S. at 377. In PTO 12, this Court provides as follows:

       This Order shall apply to the resolution of all cases pending, or later filed in, transferred
       to, or removed to, this Court and treated as part of this MDL 2741 for coordinated
       proceeding, and to their counsel, and to all plaintiffs’ and claimants’ cases maintained by
       such counsel. This Order further applies to all plaintiffs or other claimants from other non-
       MDL 2741 proceedings and their counsel who voluntarily submit to this Court’s
       jurisdiction or agree to be bound by the terms of this Order in return for MDL work
       product. 6

Here, the Court recognizes its jurisdictional limits, holding that the Court’s purview only extends

to cases before it in MDL 2741 due to direct filing, transfer, or removal. However, the argument

cannot be made that by simply signing a Participation Agreement, Category 3 objectors voluntarily

submitted to this Court’s jurisdiction, because unlike personal jurisdiction, subject matter

jurisdiction cannot be created outside its statutory confinements either by agreement or otherwise.

Vincent, 557 F.2d at 766. Indeed, as courts have recognized in the past, even sharing the work-

product created in an MDL is not sufficient to extend jurisdiction to cases not in that MDL.7


6
  PTO 12, ¶4 [Doc 161] (emphasis added).
7
  In re FedEx Ground Package Sys., Inc., Employment Practices Litig., No. 3:05-MD-527 RM,
2011 WL 611883, at *3 (N.D. Ind. Feb. 11, 2011) (“This court doesn’t have jurisdiction over cases
never actually before this court, whether state or federal, even though it’s possible that attorneys
in state or federal cases might use the work done by co-lead and MDL counsel before this court. . . .
Thus, co-lead counsel’s proposed language applying their proposed order to cases ‘derivative’ of
the MDL or that ‘rely on the work performed in the MDL’ is outside the scope of this court’s
power to order.”).


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Therefore, signing a Participation Agreement to share in the MDL work-product is not sufficient

to confer jurisdiction over cases not in front of this Court.

      B. Leadership Is Not Entitled to Common Benefit Fees and Expenses as to Those Cases
         that Have Not Settled.

      Even if jurisdiction does exist, CLC should not be entitled to common benefit fees and

expenses as to those cases that have not settled. The purpose of the common benefit doctrine is to

prevent unjust enrichment by those who benefit from the efforts of designated counsel in MDL

proceedings. Internal Imp. Fund Trs. v. Greenough, 105 U.S. 527, 532–33 (1881). However, the

basis for awarding common benefit fees rests in the understanding that a settlement fund has been

established for pending cases. In re Zyprexa Prod. Liab. Litig., 594 F.3d 113, 120 (2d Cir. 2010).

      Indeed, it is well established that the primary basis for awarding common benefit fees is to

reimburse leadership counsel for fees and litigation expenses out of the proceeds of a “fund” that

leadership counsel have “created, increased or protected by successful litigation.” In re Air Crash

Disaster at Fla. Everglades on Dec. 29, 1972, 549 F.2d 1006, 1017 (5th Cir. 1977). The Supreme

Court further emphasized this point, stating that a “litigant or a lawyer who recovers a common

fund for the benefit of persons other than himself or his client is entitled to a reasonable attorney’s

fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (citations

omitted) (emphasis added).

      Here, no global settlement was brokered such that Category 3 Objectors enjoyed the fruits of

that settlement. Rather, Co-Leads bartered a settlement agreement for themselves and left Category

3 Objectors with                            .8 Based upon information and belief, Leadership cases

settled for           on average per case, the accuracy of which can be confirmed by an in-camera



8
    See Exhibit 1, Trammell Decl., ¶ 6.

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inspection of the Settlement Agreements reached between the leadership firms and Monsanto.9 In

contrast, Category 3 Objectors were offered                                   .10

     While CLC had the ability to negotiate a global settlement treating all plaintiffs equally, they

chose not to in order to benefit their positions over non-lead firms. The resulting high settlement

values for CLC and                          offers for many others, is one of the reasons why CLC

should be precluded from an over $800 million holdback for their common benefit fee - CLC has

already been compensated. Thus, CLC should be precluded from taxing a common benefit fee

against cases that have not been settled through CLC, particularly here where Co-Leads admit

there is no “national, court-approved settlement program for present claims.”11 Because this is not

the “exact circumstances for which the common fund benefit doctrine was intended,” as Co-Leads’

motion argues,12 CLC should not be entitled to any common benefit, much less the over $800

million.

     C. The Over $800 Million Amount Leadership Seeks is Simply too Much Based on any
        Reasonable Lodestar Calculation and Under ABA Rules.

        Even if the Court finds jurisdiction and determines CLC is entitled to an Assessment as to

Category 3 Cases in general, there is no justification for the inordinate amount of money Co-Leads

seek to hold back on top of the vast sums of money they will be making in fees from their own

cases. In PTO 12, the Court begins by noting its inherent power to modify its Order to include a

common benefit fee and then states the following:

        Good cause exists to enter an order that provides for the fair and equitable sharing
        among plaintiffs in this Multi-District Litigation (“MDL 2741”) and any other
        plaintiffs and claimants who are subject to this Order, and their counsel, of the costs
        and expenses incurred and services performed by attorneys acting at the direction

9
  Id.
10
   Id.
11
   Proposed Order, 2:14-15 [Doc. 12394-26, p. 2].
12
   CLC Mot., 1:7 [Doc. 12394, p. 7].

                                              6
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       of the Plaintiffs’ Co-Lead Counsel or the Executive Committee for the common
       benefit of all such plaintiffs and claimants.13

As set forth more fully below, seeking over $800 million in a holdback for common benefit fees

and expenses on top of the approximately fees CLC are already receiving is not a “fair and

equitable sharing” among plaintiffs. Further, this amount was never agreed to by Category 3

Objectors in the Participation Agreement.14

       It is well established in the Ninth Circuit that the “starting point for determining a

reasonable fee is the ‘lodestar’ figure, which is the number of hours reasonably expended

multiplied by a reasonable hourly rate.” Gates v. Deukmejian, 987 F.2d 1392, 1397 (9th Cir. 1992).

Under this Lodestar Method, “[t]he fee applicant bears the burden of documenting the appropriate

hours expended in the litigation and must submit evidence in support of those hours worked.” Id.

“A number of courts favor the lodestar as a backup or cross-check on the percentage method when

fees might be excessive.”15

       In In re Washington Public Power Supply System Securities Litigation, the Ninth Circuit

panel rejected the pure percentage method, holding that a lodestar approach was preferrable:

       With a fund this large, picking a percentage without reference to all the
       circumstances of the case, including the size of the fund, would be like picking a
       number out of the air . . . Because a court must consider the fund’s size in light of
       the circumstances of the particular case, we agree with the district court that the . .
       . “benchmark” is of little assistance in a case such as this.

19 F.3d 1291 (9th Cir. 1994). In his ruling, Judge Dwyer noted that his duty as a judge

“corresponds to counsel’s duty to their clients” to determine a “reasonable fee.” Id. at 1297. And,


13
   PTO 12, ¶1 [Doc. 161, p. 1]
14
   See Exhibit 1, Trammell Decl., ¶ 4.
15
   Manual for Complex Litigation (Fourth), § 10.22 (2004) (citing Goldberger v. Integrated Res.,
Inc., 209 F. 3d 43 (2d Cir. 2000); United States v. 8.0 Acres of Land, 197 F.3d 24, 33 (1st Cir.
1999); Bowling v. Pfizer, Inc., 102 F.3d 777, 780 (6th Cir. 1996); In re Gen. Motors Corp., 55 F.3d
768, 820-822)).

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to discharge that all-important duty, Judge Dwyer determined that the Lodestar Method would be

utilized. Id.

        In certain circumstances, the lodestar may be adjusted based on the factors set forth in Kerr

v. Screen Extras Guild, Inc., 526 F.2d 67, 69-70 (9th Cir. 1975), abrogated on other grounds.16

However, while these factors provide alternative considerations to justify the reasonableness of a

claimed attorney fee, they are presented as factors capable of supporting the lodestar figure, not

supplanting it. Finally, so-called cross-checks of the lodestar amount via the percentage method

are not required in the Ninth Circuit but can be utilized. Such cross-checks would “make little

logical sense, because the Lodestar Method yields a fee that is presumptively [reasonable.] The

percentage method is merely a shortcut to be used in lieu of the often more time-consuming task

of calculating the lodestar, but only if the benefit to the class is easily quantified.” In re Hyundai

and Kia Fuel Economy Litig., 926 F.3d 539, 571 (9th Cir. 2019).

        Here, PTO 12 implicitly sets out the Lodestar Method, ordering the following:

        Participating Counsel shall maintain appropriate documentation and records of
        their time and expenses as set forth in the guidelines attached hereto as Exhibit
        1 . . . Eligible Counsel who seeks to recover Court-awarded common benefit
        attorneys’ fees and expenses in connection with this litigation “shall keep a [1]
        daily contemporaneous record of their [2] time and [3] expenses, noting with [4]
        specificity the [5] amount of time, [6] location (if relevant), and [7] particular
        activity along with [8] confirmation that authority was obtained [9] to have
        undertaken that common benefit effort[, and [10] be approved by the Court].” 17

That is, PTO 12 sets up the very number of hours to be multiplied by a reasonable hourly rate,



16
   These factors include: (1) the time and labor required, (2) the novelty and difficulty of the
questions involved, (3) the skill requisite to perform the legal service properly, (4) the preclusion
of other employment by the attorney due to acceptance of the case, (5) the customary fee, (6)
whether the fee is fixed or contingent, (7) time limitations imposed by the client or the
circumstances, (8) the amount involved and the results obtained, (9) the experience, reputation,
and ability of the attorneys, (10) the ‘undesirability’ of the case, (11) the nature and length of the
professional relationship with the client, and (12) awards in similar cases. Kerr, 526 F.2d at 70.
17
   PTO 12, Ex. 1 [Doc. 161, p. 7; 9] (emphasis and bracketed numbers added).

                                              8
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which is the Lodestar Method. Should this Court expressly enforce the lodestar requirement it has

already implicitly required, determining an Assessment will easily be quantifiable once Co-Leads

submit the requisite information, which they have conspicuously avoided doing, leaving this Court

without any basis whatsoever to determine a “fair and equitable sharing” of fees and expenses.18

       Indeed, either the pure Lodestar Method can be used, or a cross-check can be applied to

determine any Assessment – both methods being endorsed by the Ninth Circuit. Here, while PTO

12 implicitly calls for the Lodestar Method, Co-Leads flouted this approach and, instead, simply

picked a number out of thin air. The proposed 8.25% holdback, which equates to over $800 million,

has no justifiable basis and grossly overcompensates CLC.19 This Court should not condone what

is essentially nothing more than a money grab, as this Court has a corresponding duty to determine

a “reasonable fee.”

       Further, CLC’s justification of an 8.25% fee rests in inapplicable case law. To support their

requested percentage CLC cites to cases such as In re Air Crash Disaster at Fla. Everglades, 549

F.2d at 1011. While it is true that this court awarded an 8% common benefit fee in that case, CLC

seeks to mischaracterize this figure by failing to mention that the sum total of that fee was

estimated to be between $275,000 and $2-4 million. Id. Even at the high end of this estimation,

CLC seeks an amount 200 times larger in this case. As such, the Lodestar Method or the Lodestar

Cross-Check Method should be considered over CLC’s self-serving, out-of-thin-air percentage

method. The undersigned believe that use of this established method of calculation will

demonstrate the sought-after assessment is unwarranted and not likely to be equitably distributed




19
  Walker, et al. The Ethical Imperative of a Lodestar Cross-Check: Judicial Misgivings About
“Reasonable Percentage” Fees in Common Fund Cases, 18 Geo. J. Legal Ethics 1453, 1454
(2005).

                                              9
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among all counsel.

       In addition, CLC’s fees and expenses are unreasonable and excessive under ABA’s Model

Rule 1.5(a) and ABA Model Code DR 2-106(A). At the outset, CLC owes fiduciary duties of

loyalty to Category 3 Objectors’ clients. The Manual for Complex Litigation states that lead

attorneys must “act fairly, efficiently, and economically in the interests of all parties’ counsel.”20

What’s more, “Because ‘parties’ counsel’ are fiduciaries of the clients they directly represent, in

multidistrict litigation a double layer of fiduciary relationships also obtains.”21 As explained by

Professor Silver, when leaders displace individual counsel and control the proceedings, they

assume those lawyers’ duties, “including the fiduciary duty to refrain from exploiting clients.”22

A fiduciary duty requires a lawyer to ignore his or her own interests and precludes an attorney

from engaging in self-enriching behavior.

       As such, if this Court is to accept that CLC was acting on behalf of any Objectors’ clients,

including Category 3 Objectors, then CLC owed ethical duties to those clients and ethical rules

apply. By settling their own cases at a premium compared to those cases represented by non-CLC

attorneys, CLC potentially violated their fiduciary obligations to Objectors’ clients. By acting as

CLC, they had a fiduciary and ethical obligation to ensure that they did not prioritize their clients’

and their own firms’ interests over those of the remaining plaintiffs they did not directly represent,



20
   Manual for Complex Litigation (Fourth), § 10.22 (2004).
21
   Principles of the Law of Aggregate Litigation § 1.04 reporter’s notes on cmt. A (Am. Law Inst.
2010).
22
   Charles Silver, The Responsibilities of Lead Lawyers and Judges in Multidistrict Litigations, 79
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Vand. L. Rev. 107 (2010) (lead lawyers are fiduciaries); Principles of the Law of Aggregate
Litigation § 1.04 reporter’s notes cmt. a (2010) (observing that “[c]lass counsel is a [] fiduciary to
a client, [the named plaintiff], who is also a fiduciary [to other class members],” and that “[a]
similar relationship obtains between lead attorneys and other lawyers in a multidistrict litigation”).

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yet, that is exactly what they did by settling their own firms’ inventories of cases at

         when compared to that offered in settlement to non-CLC law firms’ clients.

        Even setting aside their possible self-dealing, ABA’s Model Rule 1.5(a) states, “A lawyer

shall not make an agreement for, charge, or collect an unreasonable fee or an unreasonable

amount for expenses.” ABA Model R. Pro. C. 1.5(a) (emphasis added). ABA’s Model Code DR

2-106(A) states, “A lawyer shall not enter into an agreement for, charge, or collect an illegal or

clearly excessive fee.” ABA Model Code DR 2-106(A) (emphasis added). These rules present two

issues: One, the unreasonableness of expenses, and two, the unreasonableness and/or clearly

excessiveness of fees. As for both, Category 3 Objectors seek discovery from the CLC to establish

whether the expenses and fees are unreasonable and excessive. This is in part because the proposed

$800 million fund would dwarf the common benefit litigation expenses approximated only at

$20,000,000, or 2.5% of the total proposed fee.23 Nowhere has the CLC accounted for this

disparity.

        The factors that establish whether an expense or fee is “unreasonable” and/or “clearly

excessive” under both ABA’s Model Rule 1.5(a) and ABA Model Code DR 2-106(A) are

identical,24 and all factors should be considered.25 These factors are simply not met here. First,


23
   CLC Mot., 9:1-3 [Doc. 12394, p. 15].
24
   The factors to be considered in determining the reasonableness of a fee include the following:
(1) the time and labor required, the novelty and difficulty of the questions involved, and the skill
requisite to perform the legal service properly; (2) the likelihood, if apparent to the client, that the
acceptance of the particular employment will preclude other employment by the lawyer; (3) the
fee customarily charged in the locality for similar legal services; (4) the amount involved and the
results obtained; (5) the time limitations imposed by the client or by the circumstances; (6) the
nature and length of the professional relationship with the client; (7) the experience, reputation,
and ability of the lawyer or lawyers performing the services; and (8) whether the fee is fixed or
contingent. See ABA Model R. Pro. C. 1.5(a)(1-8); ABA Model Code DR 2-106(B)(1-8).
25
   Rodriguez v. Ancona, 868 A.2d 807 (Conn. App. Ct. 2005) (by looking solely to amount
involved and results obtained in fixing fees as percentage of damage award, court abused discretion
by “seizing from the full panoply of relevant factors merely one factor, to the exclusion and

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while the CLC certainly spent time and labor on its own cases, the rules contemplate that a benefit

is to be conferred to Category 3 Objectors and their clients. This benefit is hotly contested and has

not been separated from the benefit to CLC’s clients versus Category 3 Objectors and clients.

Second, it is unknown what, if any preclusions, the CLC suffered as a result of the purported

benefit conferred on Category 3 Objectors and clients. Third, while factors 3 and 4 are explainable

by PTO 12, factors 5 (time limits imposed by client) and 6 (length of attorney-client relationship

with CLC) are easily answered: None. Fourth, while the experience, reputation, and ability of the

CLC lawyers cannot be understated, so too is the case for Category 3 Objectors. Additionally, even

if a billing rate of $1,000 per hour is assumed, it would take 375 attorney-years, billing 2080 hours

per year, to amount to the total fee requested.26 Not only has the caliber of every attorney working

on the litigation not been shown to be worth $1000 per hour, but there has also been no indication

by CLC of how many attorneys or staff contributed to the common benefit work or how many

hours that work constituted. Finally, as to factor 8, the fee is contingent, which requires a written

agreement signed by the client that the CLC cannot produce; it simply does not exist.27

   D. The Work-Product Some Category 3 Objectors were Given Access to is Ancillary and
      is Not Worth Over $800 Million.

   Finally, even if CLC is entitled to an Assessment as to Category 3 cases generally, and even if

a Lodestar Method is not utilized, simply assessing the work-product Category 3 Objectors have

been given access to, for ancillary purposes, shows that it is not worth $800 million. It is well

established that the primary reason for awarding common benefit fees is to reimburse leadership




disregard of the others”).
26
   $800,000,000 CBF requested - $20,000,000 est. expenses = $780,000,000 fee.
$780,000,000 fee / [$1000 hourly rate *(52 weeks x 40 hrs)] = 375 atty. years.
27
   A contingent fee agreement shall be in a writing signed by the client and shall state the method
by which the fee is to be determined. ABA Model R. Pro. C. 1.5(c).

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counsel for fees and litigation expenses, given that non-leadership attorneys’ time was “not so

consumed” in the litigation. In re Air Crash Disaster at Fla. Everglades, 549 F.2d 1006, 1011 (5th

Cir. 1977). The general understanding is that leadership counsel would be “intimately involved

with the progress of [the] litigation . . . on behalf of all plaintiffs.” Id. (emphasis added). A prime

example of leadership “intimately involved” and acting “on behalf of all plaintiffs” is reflected in

In Re Vioxx Products Liability Litigation (MDL 1657). Leadership in Vioxx took over 2,000

depositions, reviewed and compiled over 50,000,000 documents, briefed and argued over 1,000

discovery motions, conducted bellwether trials, and at the end assembled a full trial package for

all non-lead firms to use.28 Finally, Vioxx leadership secured and effectuated a global Settlement

Agreement.29 Overall, leadership in Vioxx documented and submitted 560,000 hours of work they

had completed.30 Even with this herculean effort, the court awarded common benefit fee of

$315,250,000.31

       There is a clear and stark contrast between what is seen in In Re Vioxx and the present

litigation. Of note, CLC is seeking an amount almost three times the amount received by

Leadership in In Re Vioxx, which, again, is an entirely unsupported ask. This ask is particularly

egregious, because CLC did not achieve the results seen in In Re Vioxx. Indeed, not only did CLC

fail to distribute the trial package the Participation Agreement calls — even more to the point —

CLC failed to reach a global Settlement Agreement. And the very reason for this failure rests in

CLC’s self-dealing decision to take high settlement offers for themselves while leaving Category

3 Objectors with                        .


28
   See Exhibit 2; In Re Vioxx: Order on Award of Plaintiffs’ Common Benefit Counsel Fees and
Reimbursement of Expenses [p. 26].
29
   Id.
30
   Id.
31
   Id. at p. 37.

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       Further, it is also not the case that Category 3 Objectors’ time has not been consumed like

that of Co-Leads in litigating their cases. Category 3 Objectors have been actively litigating

Roundup cases since 201832 and are not the Johnny Come Lately firms alleged to be “free-riding”

off the efforts of leadership.33 Rather, these firms have been actively involved in the work up and

litigation of nearly 10,000 cases.34 Even after signing the Participation Agreement, Category 3

Objectors have received only ancillary assistance from leadership firms,35 and, again, they have

not been provided a “trial package” as the Participation Agreement calls for. 36

       Regarding Category 3 Objectors’ active cases, most of which are pending in Missouri and

California state courts, significant independent case work up has been and continues to be

underway. California, in particular, has required an extensive amount of work. In this venue,

Category 3 firms responded to and propounded hundreds of pages of discovery requests and have

numerous depositions that began the week of January 25, 2021 and are currently scheduled

throughout February and March of this year.37 Moreover, Category 3 firms have also retained their

own experts at their own expense and have engaged in heavy motions practice and oral

arguments.38 In fact, Trammell, P.C., one of the Category 3 firms, currently has two preference

cases that are being slotted for trial this summer, while Kirkendall Dwyer LLP, another Category

3 firm, had a preference motion granted.39 Because these firms are currently preparing their cases

for trial, they are more than familiar with the amount of time and energy that go into trial

preparation and the state of the materials available to Plaintiffs’ counsel; and that value is simply


32
   See Exhibit 1, Trammell Decl., ¶ 2.
33
   See CLC Mot., 3:2-3 [Document 12394, p. 8].
34
   See Exhibit 1, Trammell Decl., ¶ 2; See Exhibit 4, Kirkendall Decl., ¶ 2.
35
   See Exhibit 1, Trammell Decl., ¶ 4.
36
   Id.
37
   See Exhibit 1, Trammell Decl., ¶ 5; See Exhibit 4, Kirkendall Decl., ¶ 5.
38
   Id.
39
   Id.

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nowhere near $800 million.40 Therefore, even if the Court finds that Category 3 Objectors should

pay an assessment, it is unfathomable that receiving ancillary assistance should cost $800 million.

      E. Category 3 Objectors Alternatively Seek Discovery to Establish the Reasonableness
         and Necessity of CLC’s Required and Alleged Fees and Expenses.

      CLC’s requested 8.25% holdback amounting to over $800 million for “common benefit” work

performed is a colossal amount. Given this, Category 3 Objectors alternatively seek additional

time to conduct discovery to determine whether CLC’s expenses and fees are reasonable and

necessary for the common benefit of Plaintiffs, and to assist this Court in its determination.41

Indeed, this Court’s PTO calls for this requested discovery.42 As such, Category 3 Objectors

alternatively request the opportunity to propound discovery prior to this Court’s ruling.


IV.      CONCLUSION

         For the reasons stated above, CLC’s motion should be DENIED.




Dated February 4, 2021.                               Respectfully Submitted,


                                                      /s/Karen Barth Menzies
                                                      ____________________________________

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40
   Id.
41
    PTO 12, ¶5 [Doc. 161, p. 5] (emphasis in the parenthetical) (“The Common Benefit
assessment . . . will be determined in a subsequent order of this Court and will be based on the
specific circumstances of this litigation, including but not limited to the level of expenses and the
value of the work being done by the MDL Leadership.).
42
   See e.g., PTO 12, ¶4 [Doc. 161, p. 5] (“MDL Leadership must also make this list available to
Participating Counsel.”).

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                                               CATEGORY 3 OBJECTORS:
                                               Attorney for Plaintiffs Whose Counsel Have
                                               Signed A Participation Agreement




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